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GOVERNMENT EXHIBIT 2
                     Case 1:21-cr-00225-DLF Document 40-2 Filed 05/16/22 Page 2 of 2

From:                     treniss8000 <treniss8000@gmail.com>
Sent:                     12/13/2020 12:15:06 PM -0500
To:
Subject:                  Re: Saw You In DC TODAY


I was with Chicago and Philly chapter mostly last night as well as others in the thick of this all night until 2:30 am. I got me
some! Chicago PB Paul and another PB were in the thick of it with me twice. I did meet one PB from Conroe area. I drove from
Texas to help, I am now driving to Georgia to get with the PB Chapter there and support.
FREEDOM!!!



Sent from my T-Mobile 4G LTE Device



-------- Original message --------
From:
Date: 12/13/20 11:23 AM (GMT-05:00)
To: treniss8000 <treniss8000@gmail.com>
Subject: Re: Saw You In DC TODAY

Sir,

We appreciate your interest in the Central Texas Proud Boys Chapter. As an organization we made the decision to not accept any new members
until after Feb 2021.

Merry Christmas 🎅🏼
Happy New Year 🎭

The CenTex PB’s wish you are yours all the best!

Regards,
TP

Sent from ProtonMail Mobile


On Sat, Dec 12, 2020 at 14:07, treniss8000 <treniss8000@gmail.com> wrote:

       I want in, how do we fight commies and liberals?



       Sent from my T-Mobile 4G LTE Device




X-Gmail-Labels:                     Sent
Return-Path:                        <treniss8000@gmail.com>
Received:

                                                                                                                                        Sun,
                                    13 Dec 2020 09:15:08 -0800 (PST)
Message-ID:                         <5fd64c1c.1c69fb81.38a0d.9794@mx.google.com>
SavedFromEmail:                     treniss8000@gmail.com
In-Reply-To:

Importance:                         normal
MIME-Version:                       1.0
Content-Type:                       multipart/alternative; boundary="--_com.samsung.android.email_1050978252677710"
